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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
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                                                Case No.: 8:22-cv-01421-MRA (ADSx)
11   LANCE BOLAND ET AL,
12                            Plaintiff/s,
                                                REASSIGNMENT ORDER
13                 v.
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15   ROBERT BONTA,
16                            Defendant/s.
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20         Pursuant to the Order of the Chief Judge, this case has been reassigned to the
21   calendar of the Honorable Mónica Ramírez Almadani. IT IS FURTHER ORDERED
22   as follows:
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1          1.     All counsel shall familiarize themselves with the Federal Rules of Civil
2    Procedure, the Local Rules of the Central District of California, and all applicable
3    standing orders.1 “Counsel,” as used in this order, includes parties appearing pro se.
4          2.     This Court does not exempt parties appearing pro se from compliance
5    with any of the Local Rules, including Local Rules 16 and 7-3.
6          3.     All matters previously referred to a magistrate judge shall remain before
7    that magistrate judge.
8          4.     Cases previously referred to an Alternative Dispute Resolution (“ADR”)
9    process shall proceed under the terms of the applicable ADR local rules. Dates for
10   previously scheduled ADR conferences shall remain in effect.
11         5.     All discovery cutoff dates and other deadlines associated with this case,
12   such as disclosure and expert deadlines, shall remain in effect.
13         6.     Except for matters noticed before a magistrate judge, all currently
14   pending law and motion hearing dates are vacated. However, the opposition and reply
15   deadlines will remain based on the previously noticed hearing date or scheduling
16   order. Unless otherwise ordered, the motion will be taken under submission without
17   oral argument when briefing is complete.
18         7.     All previously scheduled scheduling conferences are vacated. However,
19   the deadline to file the parties’ Joint Report pursuant to Federal Rule of Civil
20   Procedure 26(f) will remain based on the previously scheduled scheduling conference.
21   In addition, the parties may file a joint statement no later than seven (7) days from the
22   date of this Order or with their Rule 26 Joint Report, whichever is earlier, stating (a)
23   whether any party would like the Court to hold a telephonic scheduling conference
24   hearing; and (b) if so, what issues they seek to have resolved at the hearing. If the
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           The Local Rules are available on the Central District of California website at
27   www.cacd.uscourts.gov and Judge Ramírez Almadani’s procedures and standing
     orders are available at http://www.cacd.uscourts.gov/honorable-mónica-ramírez-
28   almadani.
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1    parties do not file a joint statement requesting a conference, the Court will likely issue
2    a scheduling order without a hearing.
3          8.     All pretrial conferences and trial dates currently set for dates earlier than
4    August 26, 2024, are vacated.
5          9.     All pretrial conferences and trial dates currently set for August 26, 2024,
6    or thereafter, as well as other deadlines associated with the case, shall remain in effect.
7          10.    Each party is expected to review and become familiar with all applicable
8    standing orders, which are posted on the Court’s website.
9          11.    The parties shall file a Joint Case Management Statement within fifteen
10   (15) days of the date of this Order. Separate statements are appropriate if any party
11   is proceeding without counsel. The statement should not exceed 10 pages in length,
12   should not contain attachments, and should address the following items in the
13   following order:
14                a.     The date the case was filed;
15                b.     A list identifying or describing each party;
16                c.     A brief summary of all claims, counter-claims, cross-claims, or
17         third-party claims;
18                d.     A brief description of the events underlying the action;
19                e.     A description of the relief sought and the damages claimed with an
20         explanation of how damages have been (or will be) computed;
21                f.     The status of discovery, including any significant discovery
22         management issues, as well the applicable cut-off dates;
23                g.     A procedural history of the case, including any previous motions
24         that were decided or submitted, any ADR proceedings or settlement
25         conferences that have been scheduled or concluded, and any appellate
26         proceedings that are pending or concluded;
27                h.     A description of any other deadlines in place before reassignment;
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1                 i.     Whether the parties will consent to a magistrate judge for trial2;
2                 j.     A statement from each parties’ counsel indicating they have (1)
3          discussed the magistrate judge consent program with their respective client(s),
4          and (2) met and conferred to discuss the consent program and selection of a
5          magistrate judge; and
6          12.    If the parties wish to continue any pretrial dates or deadlines, they must
7    file a joint stipulation or motion requesting a modification of the scheduling order.
8    Any request for a continuance must be serially numbered to differentiate it from
9    previous requests and supported by a declaration that contains a detailed factual
10   showing of good cause and due diligence demonstrating the necessity for the
11   continuance and a description of the parties’ efforts taken to advance the litigation.
12   General statements are insufficient to establish good cause, and the fact that the case
13   was recently reassigned to Judge Ramírez Almadani is also insufficient.
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15         The Court thanks the parties and their counsel for their anticipated cooperation
16   in complying with these requirements.
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18         IT IS SO ORDERED.
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21   Dated: June 12, 2024               _________________________________________
22                                      HON. MÓNICA RAMÍREZ ALMADANI
                                        UNITED STATES DISTRICT JUDGE
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            Under 28 U.S.C. § 636, the parties may consent to have a magistrate judge
26   preside over all proceedings, including trial. The magistrate judges who accept those
27   designations are identified on the Central District’s website at
     http://www.cacd.uscourts.gov/judges-requirements/court-programs/voluntary-consent-
28   magistrate-judges, which also contains a link to the consent form CV-11D.
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